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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


CYNTHIA WARMBIER, individually and              )
as personal representative of the Estate of     )
Otto Warmbier,                                  )
                                                )
FREDERICK WARMBIER, individually                )
                                                )
and as personal representative of the
                                                )
Estate of Otto Warmbier,                        )
                                                )
      Plaintiffs,                               )
                                                )
v.                                              ) Civil Case No. 1:18-cv-00977 (BAH)
                                                )
DEMOCRATIC PEOPLE’S REPUBLIC                    )
OF KOREA,                                       )
                                                )
      Defendant.                                )
                                                )


          PLAINTIFFS’ MOTION FOR ORDER UNDER 28 U.S.C. § 1610(c)
     AND STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

       Pursuant to 28 U.S.C. § 1610(c), Plaintiffs Cynthia and Frederick Warmbier, individual

and as representatives of the Estate of their son Otto Warmbier, hereby move this Court for an

order authorizing enforcement of the final judgment this Court entered on December 24, 2018.

This judgment was served on Defendant the Democratic People’s Republic of Korea (“North

Korea”) on February 14, 2019 under 28 U.S.C. § 1608(e). Three months have elapsed since the

entry of judgment and five weeks have elapsed since service, and Defendant have not made any

efforts to satisfy the judgment. Because “a reasonable period of time has elapsed following the

entry of judgment and the giving of any notice,” entry of an order authorizing enforcement of the

final judgment is appropriate.




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                               PROCEDURAL BACKGROUND

       On December 24, 2018, this Court entered a final default judgment against North Korea in

the amount of $501,134,683.80. (Order at ECF No. 24, Opinion at ECF No. 25). On January 8,

2019, Plaintiff requested this Court to effect service of the Order and Opinion, together with a

translation of each into Korean, the official language of North Korea, via DHL to the head of the

ministry of foreign affairs. (ECF No. 27). The Court mailed those documents on January 16, 2019

(ECF No. 28), and the tracking information accompanying the DHL Waybill (ECF No. 28-1)

indicates that the documents were received and signed for by an individual named Kim Sung Won

on February 14, 2019. (Exhibit A).

                                          ARGUMENT

       Under 28 U.S.C. § 1610(c), “[n]o attachment or execution . . . shall be permitted until the

court has ordered such attachment and execution after having determined that a reasonable period

of time has elapsed following the entry of judgment and the giving of any notice required under

section 1608(e) of this chapter.” Accordingly, under this provision, Plaintiffs must show that 1)

notice was properly given under 28 U.S.C. § 1608(e), and 2) a reasonable period of time has

elapsed following entry of judgment and service of the judgment.

       Both requirements have been satisfied here. First, Defendant was properly served under

28 U.S.C. § 1608(e). That provision states that a copy of a default judgment entered against a

foreign state under the Foreign Sovereign Immunities Act (“FSIA”) “shall be sent to the foreign

state . . . in the manner prescribed for service in this section.” As this Court held in its Opinion,

service of North Korea is proper under the method set forth in Section 1608(a)(3). Op. 33-34.

That provision directs sending the relevant documents “together with a translation of each into the

official language of the foreign state, by any form of mail requiring a signed receipt, to be



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addressed and dispatched by the clerk of the court to the head of the ministry of foreign affairs of

the foreign state concerned.” As with the complaint and default judgment, “the necessary papers

were mailed through DHL and delivered to North Korea.” Op. 34; Ex. A. Thus, notice was

properly given.1

       Second, a reasonable period of time has elapsed since entry of the judgment on December

24, 2018, and service of that judgment on North Korea of February 14, 2019. Since that time,

North Korea has made no effort to satisfy the judgment or made any indication that it intends to

do so. The three months since the judgment and nearly six weeks as of the time of this filing

constitute a “reasonable” time under this Court’s precedents. See, e.g., Ned Chartering & Trading,

Inc. v. Republic of Pak., 130 F.Supp.2d. 64, 67 (D.D.C.2001) (finding that six weeks was sufficient

time given the facts of the case and noting that other courts have found two or three months

sufficient); Baker v. Socialist People's Libyan Arab Jamahirya, 810 F. Supp. 2d 90, 101 (D.D.C.

2011) (“This court has repeatedly found that a period of a few months satisfies the time

requirement of § 1610(c).”); Owens v. Republic of Sudan, 141 F. Supp. 3d 1, 8-9 (D.D.C. 2015)

(“In the absence of any evidence that the defendants are making efforts to pay these judgments




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  North Korea accepted and signed the Court’s mailing on February 14, 2019. Eleven days later,
on February 25, 2019, North Korea created a new DHL Waybill and mailed the package back to
the Court. Compare ECF No. 30 (Court scan of exterior of package with DHL Waybill Number
8643645323) with Exhibit B (tracking information for that Waybill Number) with Exhibit A
(tracking information for the original and separate Waybill Number 1972256204). The clerk sent
the package to counsel, and the package included the documents and what appeared to be the
original DHL envelope, which was opened, inside a new DHL envelope.
        Although the clerk’s docket entry for the package North Korea mailed to it was “mail
returned as undeliverable,” the package was in fact delivered and signed for, and service was
effective when North Korea originally received and signed for the documents. E.g., Thuneibat v.
Syrian Arab Republic, 167 F. Supp. 3d 22, 38 (D.D.C. 2016). North Korea’s deliberate action to
create a new mailing and send the documents to the Court a week and a half after accepting them
only confirms its notice of the documents.
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voluntarily—and there is none here—the Court is inclined to find three months a sufficient

pause.”).

                                         CONCLUSION

       For all of these reasons, Plaintiffs respectfully request that this Court grant this Motion and

enter the Proposed Order attached to this Motion.



       Dated: March 26, 2019                          Respectfully submitted,

                                                      /s/ Benjamin L. Hatch
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